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                             UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF FLORIDA
                                  ORLANDO DIVISION

ALAN PARSONS; and
APPERTAINING LLC,

       Plaintiffs,

v.                                                      Case No. 6:20-cv-123-Orl-37LRH

JOHN REGNA; WORLD
ENTERTAINMENT ASSOCIATES OF
AMERICA, INC.; and DOES 1-20,

       Defendants.


                                         ORDER

       Defendants World Entertainment Associates of America, Inc. (“WEAA”) and John

Regna (“Regna”) move to dismiss the complaint (Doc. 1 (“Complaint”)) for lack of

subject matter jurisdiction. (Doc. 28 (“Motion”).) Plaintiffs oppose. (Doc. 37.) The Court

denies the Motion.

                                  I.     BACKGROUND

       Plaintiff Alan Parsons (“Parsons”), after finding success behind the scenes as a

sound engineer—working on the Beatles’ Abbey Road and Pink Floyd’s The Dark Side of

the Moon—became famous in his own right as one of two founding members of the Alan

Parsons Project (the other being Eric Woolfson (“Woolfson”)). (Doc. 1, ¶ 3.) Over the

course of its eleven-year partnership, from 1976 to 1987, the Alan Parsons Project created,

wrote, and recorded multiple platinum albums, with seventeen Billboard Top 100 singles.


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(Id.) After an amicable split, Parsons began performing live as “The Alan Parsons Live

Project” in 1994 and has continued touring since. (Doc. 19-1, ¶ 5.) 1

       Fast forward to 2009, Regna and his concert-promotion company, WEAA, began

to aggressively solicit Parsons’ business. (Doc. 1, ¶¶ 1, 4.) Regna runs WEAA from

Florida. (Id. ¶ 9.) Parsons entered into a contract with Regna, but after nine years of

working together Parsons found Regna’s behavior increasingly “outrageous and

unprofessional” and terminated the relationship. (Id. ¶¶ 4, 23.) Regna, according to

Parsons, didn’t take that well: “angered by the loss of his most prominent and prestigious

client, Regna has commenced a spiteful, global campaign to destroy Parsons’ name and

earning ability and threaten his livelihood.” (Id. ¶ 4.)

       This “global campaign” was a planned European tour of former musicians-for-

hire that had worked for Alan Parsons and the Alan Parsons Project. (Id. ¶ 25.) From their

offices in the United States, Regna and WEAA solicited these former Alan Parsons session

musicians (“The Project Band Musicians”). (Id.; see also Doc. 19-1, ¶ 11.) Regna and

WEAA promoted and advertised this new band as: “The Original Alan Parsons Project

Band,” “The Men Who Made the Records Thirty Years in the Making – Starring the Alan

Parsons Project Original Musicians,” and “The Project – Original Voice Original

Musicians Of The Alan Parsons Project And Friends.” (Doc. 1, ¶ 25.) From their Florida

office, Regna and WEAA maintained internet domain names that are “confusingly



       1For Rule 12(b)(1) factual attacks on subject matter jurisdiction, the court may go
beyond the pleadings and consider extrinsic evidence. See Carmichael v. Kellogg, Brown &
Root Servs., Inc., 572 F.3d 1271, 1279 (11th Cir. 2009).
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similar” to Parsons’ trademarks and sent email blasts to concert promoters—including to

an agent in New York—soliciting bookings for this band. (Id., ¶¶ 9–10, 28(c); Doc. 19-1,

¶¶ 11, 37.)

       So Parsons took legal action—in Europe. He sent cease and desist letters to stop a

planned concert in Spain. (Doc. 19-1, ¶ 31.) In response, The Project Band, which Regna

manages, filed a claim of its own with the High Court of Justice of England and Wales in

the United Kingdom (“UK Action”). (Doc. 35, ¶ 15; Doc. 19-1, ¶¶ 26–27.) Parsons then

sought a preliminary injunction in Spain which was granted but then stayed. (Doc. 19-1,

¶ 32.) The Spanish concert went forward as planned. (Id. ¶ 33.)

       Eventually, Parsons and Appertaining LLC (Parson’s “loan-out” company) sued

Regna and WEAA in the United States. (Doc. 1.) Plaintiffs allege, among other things:

federal, state, and common law trademark violations; and breach of fiduciary duties. (Id.)

Parsons is also seeking a preliminary injunction. (Doc. 19.) Regna moves to dismiss the

Complaint for lack of subject matter jurisdiction. (Doc. 28.) With Parsons’ response (Doc.

37), the matter is ripe.

                                II.     LEGAL STANDARDS

       Attacks on subject matter jurisdiction may be facial or factual. Carmichael v. Kellogg,

Brown & Root Servs., Inc., 572 F.3d 1271, 1279 (11th Cir. 2009). For facial attacks, a court

accepts the complaint’s allegations as true. Id. Factual attacks require more inquiry. Garcia

v. Copenhaver, Bell & Assoc., M.D.’s, P.A., 104 F.3d 1256, 1261 (11th Cir. 1997). “Because at

issue in a factual 12(b)(1) motion is the trial court’s jurisdiction—its very power to hear


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the case—there is substantial authority that the trial court is free to weigh the evidence

and satisfy itself as to the existence of its power to hear the case.” Id. (citation omitted).

The court may go beyond the pleadings and consider extrinsic evidence. See Carmichael,

572 F.3d at 1279.

                                      III.   ANALYSIS

       Regna and WEAA move to dismiss for lack of subject matter jurisdiction, arguing

the UK Action bars Parsons’ Lanham Act claims here (and so the Complaint fails to

establish federal question jurisdiction). 2 (Doc. 28.) Defendants are wrong.

       True, for “acts of trade-mark infringement . . . consummated in a foreign country by

a citizen and resident of the United States,” courts must consider whether exercising

jurisdiction would interfere with the sovereignty of another nation. Steele v. Bulova Watch

Co., 344 U.S. 280, 281 (1952) (emphasis added); see also Int'l Cafe, S.A.L. v. Hard Rock Cafe

Int'l (U.S.A.), Inc., 252 F.3d 1274, 1278 (11th Cir. 2001). But the Court is not faced solely

with acts consummated internationally. No, here there are two U.S. defendants (Regna

and WEAA) who are allegedly violating U.S. trademarks by: running their business in

the U.S., soliciting former musicians to play in an “imposter band” in the U.S.,

maintaining infringing internet domains in the U.S., and drafting and sending emails

from the U.S to solicit infringing bookings. (Doc. 1, ¶¶ 9–10, 25, 28; Doc. 19-1, ¶¶ 11, 37).



       2 Defendants also argue Counts VI through XI should be dismissed under the first
to file rule. (Doc. 28, ¶¶ 65–68.) But the first to file rule applies only to simultaneous
federal court cases—not state and federal cases. See Manual v. Convergys Corp., 430 F.3d
1132, 1135 (11th Cir. 2005); Schrenkel v. LendUS, LLC, No. 18-382, 2018 WL 4002112, *5
(M.D. Fla. Aug. 22, 2018). So this argument fails.
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While the effects of these violations may be felt abroad, many of the violations occurred

here—and unquestionably it is within a district court’s jurisdiction to hear a claim

between U.S. citizens for alleged violations of federal law occurring within the United

States. See Levi Strauss & Co. v. Sunrise Int'l Trading Inc., 51 F.3d 982, 985 (11th Cir. 1995)

(affirming jurisdiction where “many of the alleged illegal activities, including locating

and negotiating prospective buyers and arranging for shipment [of infringing goods]

occurred in the United States”).

       If the Court orders a preliminary injunction, it will consider international comity

concerns when determining the scope of the injunction. For now, however, there is

sufficient evidence of domestic violations of the Lanham Act to establish jurisdiction. See

Babbit Elecs., Inc. v. Dynascan Corp., 38 F.3d 1161, 1179-80 (11th Cir. 1994) (finding

jurisdiction exists where negotiations occurred in the U.S., sales were orchestrated from

a Florida office, and products were transported through a U.S. free trade zone).

                                    IV.     CONCLUSION

       It is ORDERED AND ADJUDGED that Defendants World Entertainment

Associates of America, Inc. and John Regna’s Joint Motion to Dismiss (Doc. 28) is

DENIED.

       DONE AND ORDERED in Chambers in Orlando, Florida, on March 12, 2020.




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      Copies to:
      Counsel of Record




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